z 339

Case 2:03-cv-OO748-WHA-DRB Document 37 Filed 03/12/04 Page 1 of 4

IN THE UNITED DISTRICT COURT .
FOR THE MIDDLE DISTRICT OF ALABAMA

NORTHERN DIVISION _ Fl LED
SANDRA HOLT, DEBRA GAWOR, ) MAH l 2 Zb()¢l
POLLY SM]TH, JOANN MORRIS, )
`,`MARTY COOPER, ADELIA HARTZOG, ) CLERK
, l‘§` and PAUL D~ PITTMAN) ) u. S, omch comm
\ l \ § ~\.‘ ion behalf of themselves and all others ) M|DDLE D|ST' OF ALA_
` j similarly situated )
)
Plaintiffs, )
)
Vs. ) CIVIL ACTION NUMBER:
) CV-oz-A-748-N
) IURY DEMAND
RITE AID CORPORATION, )
)
Defendants. )

EVIDENTIARY SUBMISSION IN SUPPORT OF

PLAINTIFFS’ MEMORANDUM lN SUPPORT OF MOTION TO

FACILITATE 29 U.S.C. 8216(b) NOTICE

COME NOW the plaintiffs, by and through the undersigned counsel, and files the following

Evidentiary Subrnission in Support of Plaintill`s’ Mernorandum in Support of Motion to Facilitate

29 U.S.C. §216(b) Notice:

l.

2.

Proposed Notice

Marty Cooper, Adelia Hartzog and Paul Pittman’s Consent to Become Party
Plaintiffs

Marie Walker’s Consent to Become Party Plaintiff
EXcerpts from Wayne M. LeClair Deposition (UNDER SEAL)
May 18, 2001 Memorandum regarding Pay Structure Changes (UNDER SEAL)

l

37

Case 2:03-cv-OO748-WHA-DRB Document 37 Filed 03/12/04 Page 2 of 4

lO.

ll.

12.

l3.

l4.

15.

l6.

l7.

18.

l9.

20.

21.

22.

23.

24.

25.

26.

Rite Aid - "About Us"

Excerpts from Samuel Hall Bailey, Jr. Deposition

Rite Aid - Stores by State

Region Map (UNDER SEAL)

Excerpts from Mark Panzar Deposition

Management Development Program - Orientation (UNDER SEAL)
Retail Career Paths (UNDER SEAL)

Key Supervisor Job Description (UNDER SEAL)

Exempt Assistant Store Manager Job Description (UNDER SEAL)
Non-Exernpt Assistant Store Manager Job Description (UNDER SEAL)
Store Manager Job Description (UNDER SEAL)

EXcerpts from David E. Markley Deposition

Hiring and Prornotion Policy (UNDER SEAL)

Policies and Procedure Manual Acknowledgment Form (UNDER SEAL)
Excerpts from Robert N. Silsby Deposition

Workweek Policy (UNDER SEAL)

Standard Schedules (UNDER SEAL)

Sandra Holt’s Declaration

Excerpts from Sandra Holt’s Deposition

Polly Smith’s Declaration

EXcerpts from Polly Smith’s Deposition

'\\'\\\\ \*`\?\l:`

Case 2:03-cv-OO748-WHA-DRB Document 37 Filed 03/12/04 Page 3 of 4

`

 

27. Joann Morris’ Declaration

28. Excerpts from Joann Morris’ Deposition

29. Debra Gawor’s Declaration

30. Excerpts from Debra Gawor’s Deposition

31. Adelia Har“czog’S Declaration

32. Paul Pittrnan’s Declaration

33. Marie Walker’s Declaration

34. Management Developrnent - Checking Budget (UNDER SEAL)

35. Excerpts from Rite Aid Policies and Procedures Manual (UNDER SEAL)
Respectfully subrnitted,
icc n § L\ \ ,\
Roeco Calamusa, Jr. §
Cra1g L. Lowell
Counsel for the Plaintiffs

OF COUNSEL:

WIGGINS, CH]LDS, QUINN & PANTAZIS, P.C.
1400 SouthTrust Tower
Birmingharn, Alabama 35203

205/328-0640

Case 2:03-cv-OO748-WHA-DRB Document 37 Filed 03/12/04 Page 4 of 4

CERTIFICATE OF SERVICE

I do hereby certify that I have mailed a copy of the above and foregoing, U.S. Mail, properly
addressed and postage prepaid, on:

Nancy E. Rafuse

Danjel E. Turner

ASHE & RAFUSE, LLP
1355 Peachtree Street, NE
Suite 500

Atlanta, GA 30309-3232

David J. Middlebrooks
Jennifer L. Howard
LEHR7 MIDDLEBROOKS, PRICE & VREELAND, PC

P.O. Box 11945
Birrningham, Alabama 35203

This the /l day of March, 2004.

oF CoUNS`EL

Z;¢.»KK/\\§\

